    [ORAL ARGUMENT NOT SCHEDULED]
               No. 25-5158

 IN THE UNITED STATES COURT OF APPEALS
  FOR THE DISTRICT OF COLUMBIA CIRCUIT
              ________________
              RFE/RL, INC.,
                          Plaintiff-Appellee,
                    v.
            KARI LAKE, et al.,
                       Defendants-Appellants.
             ________________
OPPOSED MOTION FOR VOLUNTARY DISMISSAL

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       OPPOSED MOTION FOR VOLUNTARY DISMISSAL

     Pursuant to Federal Rule of Appellate Procedure 42(b)(2),

Defendants-Appellants respectfully move to dismiss this appeal, which

arises from the district court’s temporary restraining order, with each

party to bear their own costs. Counsel for Defendants conferred with

counsel for Plaintiff-Appellee, and Plaintiff’s counsel informed us that

Plaintiff would oppose this motion for the reasons set forth in its letter

filed on May 15, 2025.

     Rule 42(b)(2) permits an appellant to dismiss its appeal by motion.

Defendants, as the Appellants, seek to do so here. The temporary

restraining order from which Defendants appealed contains two related

parts. It ordered the U.S. Agency for Global Media to (1) “immediately

enter into a grant agreement with [Plaintiff] covering April 2025 under

the same terms and conditions applicable to the most recent master

grant agreement between the parties, in materially identical terms to

the agreement between the parties pertaining to March 2025” and

(2) “immediately disburse [Plaintiff’s] April funding in the amount of

$12,178,590.” Stay Mot. Add. 22. The motions panel issued a stay of

that order, but the en banc Court subsequently issued an
administrative stay. The government accordingly disbursed the April

funding, such that both mandates of the district court’s order have been

fulfilled. The government no longer wishes to appeal that order.

     The government indicated in a letter to this Court that its appeal

was moot and that it planned to move to dismiss. Plaintiff disagrees

that the case is moot, noting that “the district court has not yet ruled on

a preliminary injunction and [Plaintiff] may therefore need to seek a

TRO for May similar to the April TRO.” May 15 Letter at 1-2. This

Court need not decide whether the case is moot or not; the only question

before the Court involves whether the government should be allowed to

dismiss its own appeal, which it plainly should be able to do regardless

of whether the case is technically moot.

     But in any event, Plaintiff is wrong. Ungranted relief that is

currently pending before the district court is inapposite to the order

that is on appeal. As Plaintiff acknowledges, the relief sought in its

preliminary injunction motion, which requests relief beyond April,

necessarily requires a ruling from the district court. If the district court




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does rule on the motion and enter a preliminary-injunction order, then

further review of that order will necessarily require a new appeal. 1

     There is no basis whatsoever to compel the government to

continue to litigate an appeal that it no longer wishes to pursue.

Plaintiff does not explain why the government should be forced to do so,

and instead appears to be seeking to keep the appeal alive in order to

obtain an advisory opinion from the en banc Court on the

appropriateness of the stay order on the theory that it may be relevant

to further proceedings. Plaintiff is not entitled to such an advisory

opinion in the government’s appeal. Plaintiff’s alternative request that

the Court vacate the stay order if it concludes that the appeal is moot is

also self-defeating; as explained above, the Court need not resolve the

mootness question to allow the government to dismiss its own appeal,

and even if the case were not moot, an order granting a stay pending

appeal would expire on its own terms once the appeal was dismissed.




     1 Indeed, on May 20, Plaintiff moved for a temporary restraining

order for May funds in district court.
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               Respectfully submitted,

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MAY 2025




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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 574 words. This

brief also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was

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                                           /s/ Daniel Tenny
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